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 4   Attorney for Defendant
     NICHOLAS ROMAN
 5

 6                                UNITED STATES DISTRICT COURT

 7                               EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                                Case No. 2:10CR0477 LKK

10                  Plaintiff,

11
            v.                                                STIPULATION AND ORDER
12                                                            TO CONTINUE STATUS
                                                              CONFERENCE TO JUNE 1, 2011
13   LONNIE PATRICK TERRELL,
                                                              Date: April 19, 2011
14               Defendant.                                   Time: 9:15 a.m.
     _____________________________________/                   Judge: Hon. Lawrence K. Karlton
15

16          IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States of

17   America, and defendants, LONNIE TERRELL, ANTHONY MONTANO, ALEX LINDBERG,

18   JEREMY TERRELL, NICHOLAS ROMAN, and RUTH JIMENEZ, through their respective

19   attorneys, that the Court should vacate the status conference scheduled for April 19, 2011, at

20   9:15 a.m., and reset it for June 1, 2011, at 9:15 a.m. Counsel for defendants have received and

21   reviewed the discovery associated with this case, but require additional time to negotiate with

22   the government in an effort to reach a negotiated disposition.

23          It is further stipulated by the parties that the Court should exclude the period from the

24   date of this order through June 1, 2011, when it computes the time within which the trial of the

25   above criminal prosecution must commence for purposes of the Speedy Trial Act. The parties

26   stipulate that the ends of justice served by granting defendants’ request for a continuance

27   outweigh the best interest of the public and the defendants’ in a speedy trial, and that this is an

28   appropriate exclusion of time for defense preparation within the meaning of 18 U.S.C. §

                                                      1
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 1   3161(h)(7)(A) and (B) (Local Code T4).
                                                 Respectfully submitted,
 2
            Dated: April 15, 2011                /S/LISA B. MEIER
 3                                               LISA B. MEIER
                                                 Attorney for NICHOLAS ROMAN
 4
            Dated: April 15, 2011                DANIEL BRODERICK
 5                                               Federal Defender

 6                                               /S/ LISA MEIER for MICHAEL PETRIK, JR
                                                 MICHAEL PETRIK, JR
 7                                               Assistant Federal Defender
                                                 Attorney for ANTHONY MONTANO
 8
            Dated: April 15, 2011                /S/ LISA MEIER for DAVID DRATMAN
 9                                               DAVID DRATMAN
                                                 Attorney for LONNIE TERRELL
10
            Dated: April 15, 2011                /s/ LISA B. MEIER for RONALD PETERS
11                                               RONALD PETERS
                                                 Attorney for ALEX LINDBERG
12
            Dated: April 15, 2011                /S/ LISA B. MEIER for DANIEL SCHULTZ
13                                               DANIEL SCHULTZ
                                                 Attorney for JEREMY TERRELL
14
            Dated: April 15, 2011                /S/LISA MEIER for KELLY BABINEAU
15                                               KELLY BABINEAU
                                                 Attorney for RUTH JIMENEZ
16
            Dated: April 15, 2011                BENJAMIN B. WAGNER
17                                               United States Attorney

18                                               /S/ LISA B. MEIER for MICHAEL ANDERSON
                                                 MICHAEL ANDERSON
19                                               Assistant U.S. Attorney

20
                                               ORDER
21
            IT IS SO ORDERED. The Court orders time excluded from the date of this order
22
     through the status conference on June 1, 2011, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)
23
     (Local Code T4).
24
            DATED: April 18, 2011
25

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